        Case:4:20-cv-05640-YGR
       Case    21-16506, 12/08/2021, ID: 12309816,
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                    UNITED STATES COURT OF APPEALS                       FILED
                            FOR THE NINTH CIRCUIT                         DEC 8 2021
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
EPIC GAMES, INC.,                               No.    21-16506

      Plaintiff-counter-                        D.C. No. 4:20-cv-05640-YGR
      defendant-Appellant,                      Northern District of California,
                                                Oakland
 v.
                                                ORDER
APPLE, INC.,

      Defendant-counter-claimant-
      Appellee.


EPIC GAMES, INC.,                               No.    21-16695

      Plaintiff-counter-                        D.C. No. 4:20-cv-05640-YGR
      defendant-Appellee,

 v.

APPLE, INC.,

      Defendant-counter-claimant-
      Appellant.

Before: O’SCANNLAIN, THOMAS, and TALLMAN, Circuit Judges.

      Apple, Inc. (“Apple”) has moved to stay, in part, the district court’s

September 10, 2021, permanent injunction pending appeal. Apple’s motion (Dkt.

Entry No. 19) is granted.

      Apple has demonstrated, at minimum, that its appeal raises serious questions
        Case:4:20-cv-05640-YGR
       Case    21-16506, 12/08/2021, ID: 12309816,
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on the merits of the district court’s determination that Epic Games, Inc. failed to

show Apple’s conduct violated any antitrust laws but did show that the same

conduct violated California’s Unfair Competition Law. See City of San Jose v. Off.

of the Com’r of Baseball, 776 F.3d 686, 691–92 (9th Cir. 2015) (“[U]nder

California law ‘[i]f the same conduct is alleged to be both an antitrust violation and

an “unfair” business act or practice for the same reason—because it unreasonably

restrains competition and harms consumers—the determination that the conduct is

not an unreasonable restraint of trade necessarily implies that the conduct is not

“unfair” toward consumers.’” (quoting Chavez v. Whirlpool Corp., 113 Cal. Rptr.

2d 175, 184 (Cal. Ct. App. 2001))). Apple has also made a sufficient showing of

irreparable harm, see Disney Enters., Inc. v. VidAngel, Inc., 869 F.3d 848, 865–66

(9th Cir. 2017), and that the remaining factors weigh in favor of staying part (i) of

the injunction and maintaining the status quo pending appeal, see Nken v. Holder,

556 U.S. 418, 434–35 (2009).

      Therefore, we grant Apple’s motion to stay part (i) of paragraph (1) of the

permanent injunction. The stay will remain in effect until the mandate issues in

this appeal. The existing briefing schedule remains in place.




                                          2                                      21-16506
